

Matter of Majtan (2024 NY Slip Op 03793)





Matter of Majtan


2024 NY Slip Op 03793


Decided on July 11, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:July 11, 2024

PM-135-24
[*1]In the Matter of Daniel Michael Majtan III, an Attorney. (Attorney Registration No. 4909321.)

Calendar Date:July 8, 2024

Before:Egan Jr., J.P., Clark, Aarons, Ceresia and Mackey, JJ.

Daniel Michael Majtan III, Lakeland, Minnesota, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Daniel Michael Majtan III was admitted to practice by this Court in 2010 and last listed a business address with United States military with the Office of Court Administration. Majtan has applied to this Court, by affidavit sworn to May 16, 2024, for leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attu Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application, contending that Majtan is ineligible for nondisciplinary resignation because he has failed to fulfill his attorney registration requirements for the 2024-2025 biennial period (see Judiciary Law § 468-a; Matter of Lee, 148 AD3d 1350, 1350 [3d Dept 2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [3d Dept 2017]; Rules of Chief Admr of Cts [22 NYCRR] § 118.1).
In reply to AGC's opposition, however, Majtan has submitted supplemental correspondence, dated June 25, 2024, in which he attests that he is now current in his New York attorney registration requirements. Furthermore, Office of Court Administration records likewise establish that Majtan has duly registered and cured any preexisting registration delinquency. Accordingly, with AGC voicing no other substantive objection to his application, and having determined that Majtan is now eligible to resign for nondisciplinary reasons (compare Matter of Tierney, 148 AD3d 1457, 1458 [3d Dept 2017]; Matter of Bomba, 146 AD3d at 1227), we grant the application and accept his resignation.
Egan Jr., J.P., Clark, Aarons, Ceresia and Mackey, JJ., concur.
ORDERED that Daniel Michael Majtan III's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Daniel Michael Majtan III's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Daniel Michael Majtan III is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Majtan is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Daniel Michael Majtan III shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








